 PER CURIAM. AFFIRMED. See Higgins v. Dyck-O’Neal, Inc., 201 So.3d 157 (Fla. 1st DCA 2016) (holding that a party is not entitled to pursue a separate action for deficiency judgment where the foreclosure complaint includes a prayer for a deficiency judgment and the foreclosure court reserves jurisdiction to enter a deficiency judgment); see also Dyck-O’Neal, Inc. v. Lanham, 214 So.3d 802 (Fla. 1st DCA 2017) (certifying conflict between this Court’s decision in Higgins and decisions by the other four district courts of appeal), ROBERTS, WETHERELL, and ROWE, JJ„ CONCUR. 